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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

ARNULFO RODRIGUEZ,                                     §
                                                       §
        Movant,                                        §
                                                       §
v.                                                     §      Civil Action 4:18-cv-876-O
                                                       §      (Criminal No. 4:16-cr-029-O (4))
UNITED STATES OF AMERICA,                              §
                                                       §
        Respondent.                                    §

                          ORDER AND INSTRUCTIONS TO PARTIES
                           IN A MOTION UNDER 28 U.S.C. § 2255

        The United States district clerk for the Northern District of Texas (“the Clerk”) has received
and filed a motion under 28 U.S.C. § 2255 to vacate, set aside, or correct the sentence imposed
against defendant/movant Arnulfo Rodriguez, a person in custody under a judgment of this Court,
in the above-styled and-numbered cause. No filing fee shall be required.1 The motion and all further
pleadings shall be styled and numbered as set forth above. The Clerk and the parties shall comply
with the following directives as indicated:

        SERVICE OF PROCESS. Service upon the United States of America of the motion under
28 U.S.C. § 2255, the memorandum in support thereof, all motions filed in this matter by Defendant,
this order, and any other order pertinent to the case shall be served electronically on the United States
attorney for the Northern District of Texas.2 See Fed. R. Crim. P. 49(B); Fed. R. Civ. P. 5(b)(2)(D).

        RESPONSIVE PLEADINGS. The United States attorney shall, within 60 days from the
date of this order, file an answer, motion, or other response to the motion under 28 U.S.C. § 2255.
An answer shall comply with the provisions of Rule 5 of the Rules Governing § 2255 Cases in the
United States District Courts. Any claim that the motion under 28 U.S.C. § 2255 should be
dismissed as either untimely or as a second or successive motion must be raised by a motion. A true


        1
         Rodriguez also filed an application/motion to proceed in forma pauperis. Mot. IFP, ECF No. 3.
Because no filing fee is required to bring a § 2255 motion in district court, the motion should be denied. See
United States v. Gonzalez, Nos. CR. C-05-424, C.A. 06-249, 2006 WL 2065182, at *2 (S. D. Tex. July 24,
2006) (“For purposes of filing fees, a motion filed under § 2255 is essentially a continuation of the
defendant's criminal case”) (citing United States v. Cole, 101 F.3d 1076 (5th Cir.1996) (noting that a § 2255
motion was not a civil action for purposes of the Prison Litigation Reform Act)). The Clerk is directed to
note on the docket that the in-forma-pauperis application/motion (ECF No. 3) is DENIED as unnecessary.
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         Such service shall be directed to the attention of the Criminal Section Habeas Attorney, United
States Attorney’s Office. See Rules Governing Section 2255 Proceedings for the United States District
Courts, Rule 3(b).

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copy of the answer or any motion, together with a copy of any brief filed therewith, shall be served
by mail on Defendant and a certificate must be filed with the Clerk evidencing such service.

        TRAVERSE PLEADINGS. The Rules Governing § 2255 Cases do not provide for the
filing of traverse pleadings, and no traverse may be filed except as required or permitted by further
written order of the Court.

       REPLY. Pursuant to Rule 5(d) of the Rules Governing Section 2255 Proceedings, Defendant
may file a reply within 30 days following service of the answer, any motion, or other responsive
pleading of the United States.

        BRIEFS. Briefs, as required or permitted by the provisions of this paragraph, must be
submitted on letter-sized paper and must be double spaced. Each argument advanced in the brief,
with supporting citations, must clearly specify the specific ground of the motion or numbered
paragraph of the pleading it seeks to support or oppose. A copy of any brief must be served by mail
on the opposing party or, if he is represented by counsel, on the counsel, and a certificate reflecting
such service must be included in the brief. Briefs are required or permitted as follows:

       1.      Brief of the United States. The United States may file such brief as it may deem
appropriate.

        2.      Reply brief. A reply brief is not required. However, in any case in which the United
States has filed a brief, a reply brief may be filed by the defendant, within 30 days following service
upon the defendant of the brief of the United States. Each paragraph of such reply brief must specify
the precise paragraph or part of the United States’s brief to which reply is being made, and must
reply only the argument of the United States. No statement or argument set forth in any brief will
be deemed a part of the pleadings or allowed to otherwise advance new grounds for relief,
supplement any ground, or support facts set out in the motion.

       SO ORDERED this 13th day of November, 2018.




                                                       _____________________________________
                                                       Reed O’Connor
                                                       UNITED STATES DISTRICT JUDGE




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